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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE
 7
      MONEY MAILER, LLC,
 8
                              Plaintiff,
 9
                                                                 NO. C15-1215RSL
                     v.
10    WADE G. BREWER,                                            ORDER GRANTING BREWER’S
11
                                                                 MOTION TO CONTINUE CASE
                       Defendant.                                MANAGEMENT DEADLINES
12
      ___________________________________

13
      WADE G. BREWER,

14
                              Counterclaim Plaintiff,
                     v.
15
      MONEY MAILER, LLC, et al.,
16
                              Counterclaim Defendants.
17

18          This matter comes before the Court on Wade G. Brewer’s “Motion for a Brief

19   Continuance of Trial Date and Related Dates.” Dkt. # 157. Having reviewed the memoranda,

20   declarations, and exhibits submitted by the parties, the Court finds that good cause exists for a

21   three month extension of all remaining deadlines. The motion is therefore GRANTED. A revised

22   case management order extending the expert disclosure deadline and setting a January 7, 2019,

23   trial date will issue.

24          Dated this 7th day of June, 2018.
25                                                A
                                                  Robert S. Lasnik
26                                                United States District Judge
27
     ORDER GRANTING BREWER’S MOTION
28   TO CONTINUE CASE MANAGEMENT DEADLINES - 1
